    Case 2:23-cv-08583-JWH-RAO Document 17 Filed 10/20/23 Page 1 of 5 Page ID #:130
Name and address:
         Christina N. Goodrich (SBN 261722)
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         K&L GATES LLP
         10100 Santa Monica Blvd., Eighth Floor
         Los Angeles, CA 90067
                                              UNITED STATES DISTRICT COURT
                                             CENTRAL DISTRICT OF CALIFORNIA

                                                                           CASE NUMBER
INMODE LTD.
                                                         Plaintiff(s),                         2:23-cv-08583-JWH-RAO
                 V.
                                                                             APPLICATION OF NON-RESIDENT ATTORNEY
BTL INDUSTRIES, INC. D/B/A BTL AESTHETICS                                          TO APPEAR IN A SPECIFIC CASE
                                         Defendant(s),                                    PROHACVICE
INSTRUCTIONS FOR APPLICANTS
( 1) The attorney seeking to appear pro hac vice must complete Section I of this Application, the certification in Section II, and have the
     designated Local Counsel sign in Section III. Space to supplement responses is provided in Section IV. The applicant must also attach a
     Certificate of Good Standing (issued within the last 30 days) from every state bar to which he or she is admitted; failure to do so will be
     grounds for denying the Application. Scan the completed Application, together with any attachment(s), to a single Portable Document
     Format (PDF) file.
(2) Have the designated Local Counsel file the Application electronically using the Court's electronic filing system ("Motions and Related
     Filings=> Applications/Ex Parte Applications/Motions/Petitions/Requests=> Appear Pro Hae Vice (G-64)'), attach a Proposed Order
     (using Form G-64 ORDER, availablefrom the Court's website), and pay the required $500 fee online at the time offiling (using a credit
     card). The fee is required for each case in which the applicant files an Application. Failure to pay the fee at the time offiling will be
     grounds for denying the Application. Out-of-statefederal government attorneys are not required to pay the $500 fee. (Certain
     attorneys for the United States are also exempt from the requirement of applying for pro hac vice status. See L.R. 83-2.1.4.) A copy of the
     G-64 ORDER in Word or WordPerfect format must be emailed to the generic chambers email address. L.R. 5-4.4.2.
SECTION I - INFORMATION
Vermillion, Caroline M.
Applicant's Name (Last Name, First Name & Middle Initial)                                        check here iffederal government attorney □
K&L GATES LLP
Firm/Agency Name
599 Lexington Avenue                                                     +1 212536 3987                       +1 212536 3901
                                                                         Telephone Number                     Fax Number
Street Address
New York, NY 10022                                                                       caroline.vermillion@klgates.com
City, State, Zip Code                                                                              E-mail Address

I have been retained to represent the following parties:
INMODE LTD.                                                              1B] Plaintiff(s) D Defendant(s) D Other:
                                                                                                                     ---------
                                                                         □ Plaintiff(s) D Defendant(s) D Other: ---------
Name(s) of Party(ies) Represented

List all state and federal courts (including appellate courts) to which the applicant has been admitted, and provide the current status of his or
her membership. Use Section IV if more room is needed, or to provide additional information.
              Name ofCourt                               Date ofAdmission           Active Member in Good Standing? (if not, please explain)
 New York State                                             5/8/2023               Yes
 Eastern District of New York                                6/23/2023             Yes
 District of Colorado                                       5/18/2023              Yes

G-64 (10/23)               APPLICATION OF NON-RESIDENT ATTORNEY TO APPEAR IN A SPECIFIC CASE PRO HAC VICE                              Page 1 of3
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List all cases in which the applicant has applied to this Court for pro hac vice status in the previous three years (continue in Section IV if
needed):
      Case Number                                  Title of Action                                Date ofApplication        Granted / Denied?
2:20-cv-04556-AB-JC                 The Ridge Wallet LLC v. Mosaic Brands, Inc.                  5/25/2023                 Granted




If any pro hac vice applications submitted within the past three (3) years have been denied by the Court, please explain:




Attorneys must be registered for the Court's electronic filing system to practice pro hac vice in this Court. Submission
of this Application will constitute your registration (or re-registration) to use that system. If the Court signs an Order
granting your Application, visit www.pacer.gov to complete the registration process and activate your e-filing
privileges in the Central District of California.

           SECTION II - CERTIFICATION

           I declare under penalty of perjury that:


           (1) All of the above information is true and correct.
           (2) I am not a resident of the State of California. I am not regularly employed in, or engaged in
               substantial business, professional, or other activities in the State of California.
           (3) I am not currently suspended from and have never been disbarred from practice in any court.
           (4) I am familiar with the Court's Local Civil and Criminal Rules, the Federal Rules of Civil and
               Criminal Procedure, and the Federal Rules of Evidence.
           (5) I designate the attorney listed in Section III below, who is a member in good standing of the Bar
               of this Court and maintains an office in the Central District of California for the practice of law, in
               which the attorney is physically present on a regular basis to conduct business, as local counsel
               pursuant to Local Rule 83-2.1.3.4.


               Dated 10/17/2023                                         Caroline M. Vermillion




                                                                       Applicant's Signature


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               Appellate Division of the Supreme Court
                        of the State of New York
                       First Judicial Department


         I, Susanna M. Rojas, Clerk of the Appellate Division of the
   Supreme Court of the State of New York, First Judicial
   Department, do hereby certify that

                         Caroline Vermillion
   was duly licensed and admitted to practice as an Attorney and
   Counselor at Law in all the courts of this State on May 8, 2023, has
   duly taken and subscribed the oath of office prescribed by law, has
   been enrolled in the Roll of Attorneys and Counselors at Law on
   file in this office, is duly registered with the Office of Court
   Administration, and       according to the records of this Court is
   currently in good standing as an Attorney and Counselor-at-Law.



                                In Witness Whereof, I have hereunto set
                                my hand in the City of New York on
                                October 17, 2023.




                                           Clerk of the Court




   CertID-00142379
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                     Supreme Court of the State of New York
                      Appellate Division, First Department

     DIANNE T. RENWICK                                                                 MARGARET SOWAH
        PRESIDING JUSTICE                                                          DEPUTY CLERK OF THE COURT


   SUSANNA MOLINA ROJAS                                                           DOUGLAS C. SULLIVAN
        CLERK OF THE COURT                                                         DEPUTY CLERK OF THE COURT


   To Whom It May Concern


          An attorney admitted to practice by this Court may request a certificate of good
   standing, which is the only official document this Court issues certifying to an
   attorney's admission and good standing.


          An attorney's registration status, date of admission and disciplinary history may
   be viewed through the attorney search feature on the website of the Unified Court
   System.


          New York State does not register attorneys as active or inactive.


         An attorney may request a disciplinary history letter from the Attorney
   Grievance Committee of the First Judicial Department.


        Bar examination history is available from the New York State Board of Law
   Examiners.


          Instructions, forms and links are available on this Court's website.




                                                           Susanna Rojas
                                                           Clerk of the Court




   Revised October 2020


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